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 4
     Attorney for Defendant
 5   EDWARD FUENTES
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 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,       )             No. CR-S 07-248-WBS
                                     )
13                   Plaintiff,      )
                                     )            DEFENDANT’S REQUEST TO SEAL
14        v.                         )            DEFENDANTS’ JOINT EXHIBITS Q-V
                                     )            AND ORDER
15                                   )
     MARIO DIAZ, et. al.,            )
16                                   )             Hearing:
                                     )             Date: July 19, 2010
17                                   )             Time: 10:00 a.m.
                                     )             Hon. William B. Shubb
18                                   )
                     Defendants.     )
19   _______________________________ )
20         Pursuant to Local Rule 141, defendant Edward Fuentes, through counsel, hereby
21   requests that the Court seal Exhibits Q-V to the joint defendants’ reply briefs to their
22   motions to dismiss and to suppress wiretap intercepts, which were filed on July 2, 2010.
23   The documents sought to be sealed are 29 pages of declarations, reports, and transcripts.
24   This Request to Seal The Documents And Order and the documents themselves have been
25   submitted to the parties by email pursuant to Local rule 141(b) on July 2, 2010.
26         This request to seal is made because the exhibits sought to be sealed contain the
27   ///
28   ///
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 1   names and identifying information of one or more government confidential informants.
 2         Dated: July 2, 2010
 3                                        Respectfully submitted,
 4
 5                                        /s/ John Balazs
                                          JOHN BALAZS
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                                          Attorneys for Defendant
 7                                        EDWARD FUENTES
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 1                                             ORDER
 2         For the reasons stated in the application set forth above, the Court hereby orders
 3   defendants’ joint exhibits Q-V in support of their reply briefs regarding their motion to
 4   dismiss and motion to suppress wiretap intercepts is hereby ordered sealed until further
 5   order of the Court.
 6         Dated: July 6, 2010
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